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 6
 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
      JULIO CRUZ,                                      Case No.:
10
                   Plaintiff,                          COMPLAINT FOR INJUNCTIVE
11                                                     RELIEF AND DAMAGES FOR DENIAL
            vs.                                        OF CIVIL RIGHTS OF A DISABLED
12                                                     PERSON IN VIOLATIONS OF
13                                                     1. AMERICANS WITH DISABILITIES
                                                       ACT, 42 U.S.C. §12131 et seq.;
14    BRE JUPITER C WEST CA OWNER, LP;
      and DOES 1 to 10,                                2. CALIFORNIA’S UNRUH CIVIL
15                                                     RIGHTS ACT;
                   Defendants.
16                                                     3. CALIFORNIA’S DISABLED
                                                       PERSONS ACT;
17
                                                       4. CALIFORNIA HEALTH & SAFETY
18                                                     CODE;
19                                                     5. NEGLIGENCE
20
21
22          Plaintiff JULIO CRUZ (“Plaintiff”) complains of Defendants BRE JUPITER C
23    WEST CA OWNER, LP; and DOES 1 to 10 (“Defendants”) and alleges as follows:
24                                             PARTIES
25          1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
26    from paraplegia and is substantially limited in his ability to walk. Plaintiff requires the
27    use of a wheelchair at all times when traveling in public.
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 1             2.   Defendants are, or were at the time of the incident, the real property owners,
 2    business operators, lessors and/or lessees of the real property for an insurance agency
 3    (“Business”) located at or about 12670 Hoover St., Garden Grove, California.
 4             3.   The true names and capacities, whether individual, corporate, associate or
 5    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7    Court to amend this Complaint when the true names and capacities have been
 8    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
 9    fictitiously named Defendants are responsible in some manner, and therefore, liable to
10    Plaintiff for the acts herein alleged.
11             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14    the things alleged herein was acting with the knowledge and consent of the other
15    Defendants and within the course and scope of such agency or employment relationship.
16             5.   Whenever and wherever reference is made in this Complaint to any act or
17    failure to act by a defendant or Defendants, such allegations and references shall also be
18    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19    and severally.
20                                  JURISDICTION AND VENUE
21             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23    seq.).
24             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25    arising from the same nucleus of operating facts, are also brought under California law,
26    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27    54, 54., 54.3 and 55.
28             8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2    property which is the subject of this action is located in this district, Orange County,
 3    California, and that all actions complained of herein take place in this district.
 4                                      FACTUAL ALLEGATIONS
 5          10.    In or about December of 2024, Plaintiff went to the Business.
 6          11.     The Business is an insurance agency business establishment, open to the
 7    public, and is a place of public accommodation that affects commerce through its
 8    operation. Defendants provide parking spaces for customers.
 9          12.    While attempting to enter the Business during each visit, Plaintiff personally
10    encountered a number of barriers that interfered with his ability to use and enjoy the
11    goods, services, privileges, and accommodations offered at the Business.
12          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13    included, but were not limited to, the following:
14                 a.     Defendants failed to comply with the federal and state standards for
15                        the parking space designated for persons with disabilities. Defendants
16                        failed to provide an access aisle with level surface slope, as there were
17                        permanent ramps installed within most, if not all, of the accessible
18                        aisles.
19          14.    These barriers and conditions denied Plaintiff the full and equal access to the
20    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
21    patronize the Business; however, Plaintiff is deterred from visiting the Business because
22    his knowledge of these violations prevents him from returning until the barriers are
23    removed.
24          15.    Based on the violations, Plaintiff alleges, on information and belief, that
25    there are additional barriers to accessibility at the Business after further site inspection.
26    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
27    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
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 1          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 2    knew that particular barriers render the Business inaccessible, violate state and federal
 3    law, and interfere with access for the physically disabled.
 4          17.    At all relevant times, Defendants had and still have control and dominion
 5    over the conditions at this location and had and still have the financial resources to
 6    remove these barriers without much difficulty or expenses to make the Business
 7    accessible to the physically disabled in compliance with ADDAG and Title 24
 8    regulations. Defendants have not removed such barriers and have not modified the
 9    Business to conform to accessibility regulations.
10                                      FIRST CAUSE OF ACTION
11           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
12          18.    Plaintiff incorporates by reference each of the allegations in all prior
13    paragraphs in this complaint.
14          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
15    shall be discriminated against on the basis of disability in the full and equal enjoyment of
16    the goods, services, facilities, privileges, advantages, or accommodations of any place of
17    public accommodation by any person who owns, leases, or leases to, or operates a place
18    of public accommodation. See 42 U.S.C. § 12182(a).
19          20.    Discrimination, inter alia, includes:
20                 a.     A failure to make reasonable modification in policies, practices, or
21                        procedures, when such modifications are necessary to afford such
22                        goods, services, facilities, privileges, advantages, or accommodations
23                        to individuals with disabilities, unless the entity can demonstrate that
24                        making such modifications would fundamentally alter the nature of
25                        such goods, services, facilities, privileges, advantages, or
26                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
27                 b.     A failure to take such steps as may be necessary to ensure that no
28                        individual with a disability is excluded, denied services, segregated or



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 1                        otherwise treated differently than other individuals because of the
 2                        absence of auxiliary aids and services, unless the entity can
 3                        demonstrate that taking such steps would fundamentally alter the
 4                        nature of the good, service, facility, privilege, advantage, or
 5                        accommodation being offered or would result in an undue burden. 42
 6                        U.S.C. § 12182(b)(2)(A)(iii).
 7                 c.     A failure to remove architectural barriers, and communication barriers
 8                        that are structural in nature, in existing facilities, and transportation
 9                        barriers in existing vehicles and rail passenger cars used by an
10                        establishment for transporting individuals (not including barriers that
11                        can only be removed through the retrofitting of vehicles or rail
12                        passenger cars by the installation of a hydraulic or other lift), where
13                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
14                 d.     A failure to make alterations in such a manner that, to the maximum
15                        extent feasible, the altered portions of the facility are readily
16                        accessible to and usable by individuals with disabilities, including
17                        individuals who use wheelchairs or to ensure that, to the maximum
18                        extent feasible, the path of travel to the altered area and the
19                        bathrooms, telephones, and drinking fountains serving the altered
20                        area, are readily accessible to and usable by individuals with
21                        disabilities where such alterations to the path or travel or the
22                        bathrooms, telephones, and drinking fountains serving the altered area
23                        are not disproportionate to the overall alterations in terms of cost and
24                        scope. 42 U.S.C. § 12183(a)(2).
25          21.    Where parking spaces are provided, accessible parking spaces shall be
26    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
27    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
28    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA



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 1    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 2    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 3          22.      Under the 1991 Standards, parking spaces and access aisles must be level
 4    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
 5    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
 6    shall be part of an accessible route to the building or facility entrance and shall comply
 7    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 8    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 9    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
10    directions. 1991 Standards § 4.6.3.
11          23.      Here, the access aisle is not level with the parking spaces, as there were
12    permanent ramps installed within most, if not all, of the accessible aisles. Under the 2010
13    Standards, access aisles shall be at the same level as the parking spaces they serve.
14    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
15    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
16    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
17          24.      A public accommodation shall maintain in operable working condition those
18    features of facilities and equipment that are required to be readily accessible to and usable
19    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
20          25.      By failing to maintain the facility to be readily accessible and usable by
21    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
22    regulations.
23          26.      The Business has denied and continues to deny full and equal access to
24    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
25    discriminated against due to the lack of accessible facilities, and therefore, seeks
26    injunctive relief to alter facilities to make such facilities readily accessible to and usable
27    by individuals with disabilities.
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 1                                  SECOND CAUSE OF ACTION
 2                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 3          27.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          28.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 6    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 7    national origin, disability, medical condition, genetic information, marital status, sexual
 8    orientation, citizenship, primary language, or immigration status are entitled to the full
 9    and equal accommodations, advantages, facilities, privileges, or services in all business
10    establishments of every kind whatsoever.”
11          29.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
12    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
13    for each and every offense for the actual damages, and any amount that may be
14    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
15    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
16    attorney’s fees that may be determined by the court in addition thereto, suffered by any
17    person denied the rights provided in Section 51, 51.5, or 51.6.
18          30.    California Civil Code § 51(f) specifies, “a violation of the right of any
19    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
20    shall also constitute a violation of this section.”
21          31.    The actions and omissions of Defendants alleged herein constitute a denial
22    of full and equal accommodation, advantages, facilities, privileges, or services by
23    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
24    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
25    51 and 52.
26          32.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
27    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
28    damages as specified in California Civil Code §55.56(a)-(c).



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 1                                  THIRD CAUSE OF ACTION
 2                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 3          33.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          34.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 6    entitled to full and equal access, as other members of the general public, to
 7    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 8    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 9    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
10    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
11    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
12    places of public accommodations, amusement, or resort, and other places in which the
13    general public is invited, subject only to the conditions and limitations established by
14    law, or state or federal regulation, and applicable alike to all persons.
15          35.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
16    corporation who denies or interferes with admittance to or enjoyment of public facilities
17    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
18    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
19    the actual damages, and any amount as may be determined by a jury, or a court sitting
20    without a jury, up to a maximum of three times the amount of actual damages but in no
21    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
22    determined by the court in addition thereto, suffered by any person denied the rights
23    provided in Section 54, 54.1, and 54.2.
24          36.    California Civil Code § 54(d) specifies, “a violation of the right of an
25    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
26    constitute a violation of this section, and nothing in this section shall be construed to limit
27    the access of any person in violation of that act.
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 1          37.    The actions and omissions of Defendants alleged herein constitute a denial
 2    of full and equal accommodation, advantages, and facilities by physically disabled
 3    persons within the meaning of California Civil Code § 54. Defendants have
 4    discriminated against Plaintiff in violation of California Civil Code § 54.
 5          38.    The violations of the California Disabled Persons Act caused Plaintiff to
 6    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 7    statutory damages as specified in California Civil Code §55.56(a)-(c).
 8                                 FOURTH CAUSE OF ACTION
 9                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
10          39.    Plaintiff incorporates by reference each of the allegations in all prior
11    paragraphs in this complaint.
12          40.    Plaintiff and other similar physically disabled persons who require the use of
13    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
14    such facility is in compliance with the provisions of California Health & Safety Code §
15    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
16    provisions of California Health & Safety Code § 19955 et seq.
17          41.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
18    that public accommodations or facilities constructed in this state with private funds
19    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
20    Title 1 of the Government Code. The code relating to such public accommodations also
21    require that “when sanitary facilities are made available for the public, clients, or
22    employees in these stations, centers, or buildings, they shall be made available for
23    persons with disabilities.
24          42.    Title II of the ADA holds as a “general rule” that no individual shall be
25    discriminated against on the basis of disability in the full and equal enjoyment of goods
26    (or use), services, facilities, privileges, and accommodations offered by any person who
27    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
28    Further, each and every violation of the ADA also constitutes a separate and distinct



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 1   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 2   award of damages and injunctive relief pursuant to California law, including but not
 3   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 4                                   FIFTH CAUSE OF ACTION
 5                                         NEGLIGENCE
 6          43.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8          44.    Defendants have a general duty and a duty under the ADA, Unruh Civil
 9   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
10   to the Plaintiff.
11          45.    Defendants breached their duty of care by violating the provisions of ADA,
12   Unruh Civil Rights Act and California Disabled Persons Act.
13          46.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
14   has suffered damages.
15                                     PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
17   Defendants as follows:
18          1.     For preliminary and permanent injunction directing Defendants to comply
19   with the Americans with Disability Act and the Unruh Civil Rights Act;
20          2.     Award of all appropriate damages, including but not limited to statutory
21   damages, general damages and treble damages in amounts, according to proof;
22          3.     Award of all reasonable restitution for Defendants’ unfair competition
23   practices;
24          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
25   action;
26          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
27          6.     Such other and further relief as the Court deems just and proper.
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 1                              DEMAND FOR TRIAL BY JURY
 2         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 3   demands a trial by jury on all issues so triable.
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 5   Dated: March 21, 2025                   SO. CAL. EQUAL ACCESS GROUP
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 8                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
 9                                                  Attorneys for Plaintiff
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